

Matter of People of the State of New York ex rel.  Roth v Brann (2019 NY Slip Op 08145)





Matter of People of the State of New York ex rel.  Roth v Brann


2019 NY Slip Op 08145


Decided on November 12, 2019


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 12, 2019

Acosta, P.J., Renwick, Mazzarelli, Kapnick, JJ.


10497 100885/19 -7499] 5342/15 1614N/17 3065/17

[*1] In re The People of the State of New York, ex rel. Pamela Roth, on behalf of Roy Taylor, Petitioner-Appellant,
vCynthia Brann, Commissioner, New York City Department of Correction, Respondent-Respondent.


Roy Taylor, appellant pro se.
Cyrus R. Vance, Jr., District Attorney, New York (Quentin J. Morgan of counsel), for respondent.



Judgment (denominated an order), Supreme Court, New York County (Michael Obus, J.), entered on or about July 17, 2019, denying the petition for a writ of habeas corpus and dismissing the proceeding, unanimously affirmed, without costs.
We find that the writ of habeas corpus was properly denied (see  CPLR 7010).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: NOVEMBER 12, 2019
CLERK








